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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                                 BID PROTEST

                                                   *
TRAILBOSS ENTERPRISES, INC.,                       *
                                                   *
               Plaintiff,                          *
                                                   *       Case No. 21-00011C
        v.                                         *
                                                   *
THE UNITED STATES,                                 *       Judge Edward H. Meyers
                                                   *
               Defendant,
                                                   *
        and                                        *
                                                   *
 G4S SECURE SOLUTIONS (USA) INC.,                  *
                                                   *
               Defendant-Intervenor.               *
                                                   *


       PLAINTIFF’S MOTION FOR LEAVE TO FILE AMENDED COMPLAINT

       Pursuant to Rule 15 of the Rules of the United States Court of Federal Claims (“RCFC”),

Plaintiff Trailboss Enterprises, Inc. (“Trailboss”), by and through its undersigned counsel,

respectfully submits this Motion for Leave to File Amended Complaint.           Trailboss’s First

Amended Complaint will be filed separately under seal in accordance with this Court’s protective

order. See CM/ECF No. 14.

                                       BACKGROUND

       On December 31, 2020, Trailboss filed its Complaint in this post-award bid protest action.

See CM/ECF No. 1. Since filing the Complaint, Trailboss subsequently learned new information

relevant to this bid protest proceeding. Specifically, on January 4, 2021, the U.S. Department of

Homeland Security, Immigration & Customs Enforcement (the “Agency”), notified Trailboss that

it reconsidered its award decision in the subject procurement. As a result, the Agency apparently

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reevaluated certain portions of Trailboss’s proposal, resulting in the removal of a Deficiency

identified in Trailboss’s Technical Approach volume.

                                           ARGUMENT

       RCFC 15(a)(1) provides that a party may amend a pleading once as a matter of course,

provided that such amendment occurs within twenty-one days after service of the relevant

pleading. See id.; see also Taylor v. United States, 959 F.3d 1081, 1091 (Fed. Cir. 2020).

Trailboss first filed its Complaint on December 31, 2020 (i.e., five days ago). Thus, Trailboss is

permitted to amend its Complaint as a matter of course without seeking leave of the Court or the

other parties’ consent.

       Alternatively, good cause exists for this Court to grant Trailboss leave to amend the

Complaint. RCFC 15(a)(2) further provides, in relevant part, “that leave to amend shall be freely

given when justice so requires.” Foman v. Davis, 371 U.S. 178, 182 (1962) (quotations omitted);

see also Savantage Fin. Servs., Inc. v. United States, 119 Fed. Cl. 246, 252 (2014) (permitting

amendment of bid protest complaint in accordance with RCFC 15(a)). “In the absence of . . .

undue delay, bad faith or dilatory motive . . . undue prejudice . . . futility of amendment, etc.—the

leave sought should, as the rules require, be freely given.” Forman, 371 U.S. at 182.

       None of the Foreman factors are present here. The revised facts alleged in the First

Amended Complaint are well-known to the Defendant and the Agency, and the revisions are

submitted with sufficient time in advance of the Agency’s production of the administrative record

currently due on January 20, 2021. See CM/ECF No. 13. Moreover, the Amended Complaint

does not add any new causes of action, but rather more clearly describes the factual background

relevant to this bid protest proceeding based upon information first learned by Trailboss after filing

the Complaint.

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                                        CONCLUSION

       For the foregoing reasons, Trailboss respectfully requests that the Court grant this Motion

for Leave to Amend the Complaint.


 Dated: January 5, 2021                         Respectfully submitted,

                                                 s/ Shaun C. Kennedy
                                                Shaun C. Kennedy
                                                HOLLAND & HART LLP
Of Counsel:                                     555 Seventeenth Street, Suite 3200
                                                Denver, Colorado 80202
Christopher R. Hogle                            Telephone: (303) 295-8377
Chris D. Mack                                   Facsimile: (303) 957-5460
HOLLAND & HART LLP                              sckennedy@hollandhart.com
222 South Main Street, Suite 2200
Salt Lake City, Utah 84101                      Attorney of Record for Plaintiff
                                                Trailboss Enterprises, Inc.
Thomas A. Morales
Hannah E. Armentrout
HOLLAND & HART LLP
555 Seventeenth Street, Suite 3200
Denver, Colorado 80202




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                                CERTIFICATE OF SERVICE


        I hereby certify that on this 5th day of January 2021, I caused a true and correct copy of
the foregoing Motion for Leave to File Amended Complaint to be filed electronically. This filing
was served electronically to all parties by virtue of the Court’s electronic filing system.



                                             s/ Shaun C. Kennedy
                                            Shaun C. Kennedy




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